                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
         vs.                                        )       No. 13-05036-17-CR-SW-GAF
                                                    )
CASEY ELIZABETH MURRAY,                             )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


         Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Twenty-five

contained in the Superseding Indictment filed on June 11, 2014, is now Accepted and the

Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the

Court.




                                                          /s/ Gary A. Fenner
                                                          GARY A. FENNER
                                                    UNITED STATES DISTRICT JUDGE




Date: August 12, 2014




         Case 3:13-cr-05036-MDH        Document 460       Filed 08/12/14      Page 1 of 1
